                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,

            vs.

BRENDON GAGNE,
JAMES FUNARO,
JEREMY WALENTY,
TAYLOR McLAREN, and
JOSHUA FORD,
                                                          INDICTMENT
                  Defendants.
_________________________________/

      The Grand Jury charges:

                                 INTRODUCTION

      At all times relevant to this Indictment:

                  Defendants and Related Individuals and Entities

      1.    BRENDON GAGNE was a resident of Fountain, Colorado, where he was

active in the bodybuilding community.

      2.    JAMES FUNARO was a resident of Atlanta, Georgia. JAMES FUNARO

owned Valiant Capital Partners, LLC, a domestic limited liability company registered



      3.    JEREMY WALENTY was a resident of Tampa, Florida.

      4.    TAYLOR McLAREN was a resident of Colorado Springs, Colorado, and

was a competitive bodybuilder.




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      5.       JOSHUA FORD was a resident of Troy, Michigan, where he was active

in the bodybuilding community.

      6.       J.G. was a resident of Miami, Florida

      7.       R.L. was a resident of Boulder, Colorado, where he was active in the

bodybuilding community.

      8.       P.L. was a resident of Boulder, Colorado, where he was active in the

bodybuilding community.

      9.       T.M. was a resident of Muskegon, Michigan, and was a competitive

bodybuilder.

      10.      M.H. was a resident of Muskegon, Michigan.

      11.      www.ExpressPCT.com was a publicly accessible website that sold

various prescription drugs as well as scheduled controlled substances to customers in

the United States without requiring a prescription to be provided by the purchaser.

Among      others,   www.ExpressPCT.com        sold    prescription   drugs   that   were

manufactured outside of the United States, including in India.

      12.      www.ExpressPEDS.ws was a publicly accessible website that sold

various prescription drugs as well as Schedule III anabolic steroids.

      13.      www.PayAnyWayExchange.com was a publicly accessible payment

processing site that provided customers of www.ExpressPCT.com with various

methods of payment for the purchase of products sold on www.ExpressPCT.com,

including but not necessarily limited to wire transfer, eCheck, Zelle, Google Pay,

Skrill, Xoom, and Cash App.



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        14.   Valiant Capital Partners LLC, was a domestic limited liability company

registered in the State of New York that received payments for prescription drugs

purchased on www.ExpressPCT.com.

              The Food and Drug Administra

        15.   The United States Food and Drug

agency responsible for protecting the health and safety of the American public by

enforcing the Federal Food, Drug, and Co

purposes of the FDCA was to ensure that drugs sold for human use were safe,

effective, and have labels containing only

responsibilities under the FDCA included, but were not limited to, regulating the

manufacturing, labeling, and distribution of prescription drugs shipped or received

in interstate commerce.

        16.   Drugs were defined as articles intended for use in the diagnosis, cure,

mitigation, treatment, or prevention of disease in man and also included articles

intended to affect the structure or any function of the human body.

        17.   Prescription drugs were drugs that, because of their toxicity and other

potential harmful effects, were not safe for use except under the supervision of a

practitioner licensed by law to administer su

                                             ered under the supervision of a practitioner

licensed by law to administer such a drug as

drug.




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      18.    Under the FDCA, a prescription drug could not lawfully be dispensed

without a valid prescription written by a licensed practitioner.

      19.    The FDCA prohibited the introduction into interstate commerce of any

drug that was misbranded. A drug was misbranded if, among other things, it was

dispensed without a written prescription of a practitioner licensed by law to

administer such a drug.

                              Drug Smuggling Scheme

      20.    Customers could visit www.ExpressPCT.com and place an order for

various prescription drugs. The website broke down the items for sale into four

categories based upon where the products ship from or to, including a category labeled

                                              ailable for purchase by customers in the




      21.                                         cription drugs, under various brand

names, for sale, including but not limited to, Letrozole, isotretinoin, arimidex,

exemestane, cabergoline, tadalafil citrate, clomiphene citrate, modafinil, tamoxifen

citrate, human chorionic gonadotropin, and sildenafil citrate. Several of these drugs

were used to treat the short-term adverse effects of anabolic steroid use.

      22.    In order to obtain the drugs sold on www.ExpressPCT.com legally in the

United States, a person must have obtained a valid written prescription from a

licensed medical practitioner. However, www.ExpressPCT.com did not require a

customer to provide a prescription to purchase any of the drugs from its website.



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      23.    www.ExpressPCT.com         was          affiliated   with   the   website

www.ExpressPEDS.ws, which sold anabolic-androgenic steroids, among other things.

www.ExpressPEDS.ws also did not require a customer to provide a prescription to

purchase any of the drugs from its website.

      24.    The   prescription   drugs       sold     on    www.ExpressPCT.com   and

www.ExpressPEDS.ws were manufactured largely, if not entirely, outside of the

United States. The drugs were then shipped, in bulk form, to individual distributors

in the United States. To conceal the nature of the drugs contained in these bulk

shipments, the customs declarations forms included false statements as to what was

actually contained in the packages. In some cases, the drugs themselves were actually

packaged in boxes normally used to ship non-drug items, such as cosmetics, before

being shipped to the United States.

      25.    Once the bulk shipments were received in the United States, the

individual distributors broke down the bulk shipments still further and then sent

these smaller bulk shipments to other individual re-distributors elsewhere in the

United States.

      26.    Once the re-distributors received the shipments of prescription drugs,

they then re-packaged them, applied a USPS shipping label to the outside of the

package, and sent the drugs to the customer who had placed an order on

www.ExpressPCT.com. The box and the label were designed in such a way as to make

the customers think the drugs came from the United States and not from overseas.




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                            Money Laundering Scheme

      27.    www.ExpressPCT.com accepted Bitcoin, a type of cryptocurrency,

directly as one method of payment for the prescription drugs. Additionally, the

website accepted alternative forms of payment, including payments sent via digital

payment networks such as Zelle and Cash App.

      28.    If a customer of www.ExpressPCT.com elected to pay using an

alternative form of payment, rather than Bitcoin or another form of cryptocurrency,

they were directed to www.PayAnyWayExchange.com to process payments.

      29.    When a customer chose to pay via wire transfer, Western Union, or

digital payment network such as Zelle or Xoom, www.PayAnyWayExchange.com

instructed    them    to    list   the    recipient     of    their    payment     as

valiantcapitalone@gmail.com. For funds sent via Zelle specifically, the website also

suggested that customers use the name JAMES FUNARO if necessary to transfer the

required funds.

      30.    More recently, customers were offered the option to pay via Cash App



      31.    In all instances, www.PayAnyWayExchange.com instructed customers

not to include any words, names, or other specific information related to the drugs

ordered on www.ExpressPCT.com.

      32.

                                             k accounts in the name of Valiant Capital




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Partners, LLC, a company owned by JAMES FUNARO, or to accounts in the name of

JAMES FUNARO directly.

      33.    Ultimately, customer funds were then routed to accounts in JAMES



currency exchanges and custodians that allowed customers to buy, sell, and store

digital currencies,   including Bitcoin.       The   funds were   then converted to

cryptocurrency and moved to accounts held by foreign nationals residing overseas

and to other unknown locations.

      34.     Once the funds were moved overseas, co-conspirators used them to pay

the foreign suppliers of the prescription drugs in order to obtain additional supplies

of drugs and further the smuggling scheme. Co-conspirators also used funds to pay

re-distributors for their participation in the scheme.




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                                COUNT 1
            (Conspiracy to Smuggle Goods into the United States)

      The Grand Jury realleges and incorporates by reference the allegations made

in Paragraphs 1-34 of the Introduction above as if fully set forth herein.

      Beginning in or about September 2018 and continuing until in or about October

2021, in Muskegon County, in the Southern Division of the Western District of

Michigan, and elsewhere, the defendants,

                               BRENDON GAGNE,
                                JAMES FUNARO,
                              JEREMY WALENTY,
                             TAYLOR McLAREN, and
                                 JOSHUA FORD,

and others both known and unknown to the Grand Jury, including but not limited to

R.L., P.L., J.G., T.M., and M.H., knowingly and fraudulently combined, conspired,

confederated, and agreed with each other to smuggle goods into the United States

contrary to law, in violation of Title 18, United States Code, Section 545, namely

misbranded prescription drugs and controlled substances, in violation of Title 21,

United States Code, Sections 331 and 841.

      The object of the conspiracy was to import unapproved foreign manufactured

prescription drugs and controlled anabolic steroids into the United States.

                              MANNER AND MEANS

      In order to effectuate the objects of the conspiracy, the defendants used means,

facilities, and instrumentalities of interstate commerce, including telephones,

internet-connected social media platforms, email accounts, and publicly accessible




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websites. The defendants also made extensive use of the United States Postal Service

and the United States Mail.

                                     OVERT ACTS

      In furtherance of the conspiracy, and to effectuate its illegal object, the

conspirators committed the following overt acts, among others, both in the Western

District of Michigan and elsewhere:

      1.        In or about September 16, 2018, co-conspirators established the website

www.ExpressPCT.com, offering for sale prescription drugs obtained from overseas

pharmaceutical companies without requiring the purchaser to produce a written

prescription.

      2.        In or about March 31, 2020, co-conspirators established the website

www.ExpressPEDS.ws, offering for sale prescription drugs and anabolic steroids

without requiring the purchaser to produce a written prescription.

      3.        Sometime prior to February 2019, BRENDON GAGNE recruited R.L. to

serve as a re-distributor of prescription drugs purchased on www.ExpressPCT.com.

      4.        On or about October 14, 2019, during a conversation on Discord,

BRENDON GAGNE stated to another user that his username/handle on Wickr was

                                         d place an order for prescription drugs.

      5.        Sometime prior to December 2019, BRENDON GAGNE recruited P.L.

to serve as a re-distributor of prescription drugs purchased on www.ExpressPCT.com.




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      6.     Sometime prior to March 2020, BRENDON GAGNE recruited JEREMY

WALENTY to serve as a re-distributor of prescription drugs purchased on

www.ExpressPCT.com.

      7.     On or about March 3, 2020, JEREMY WALENTY had a conversation on

                                                 with a customer in which WALENTY

explained how the website would address situations in which a customer had his or

her prescription drugs seized by government officials prior to delivery.

      8.     Sometime prior to November 2019, one or more of the conspirators

recruited J.G. to serve as a re-distributor of prescription drugs purchased on

www.ExpressPCT.com.

      9.     Beginning    in   or   about   February    2019   and   continuing   until

approximately December 2019, co-conspirators outside the United States sent

BRENDON GAGNE approximately 22 packages that contained bulk quantities of

prescription drugs available for purchase on www.ExpressPCT.com.

      10.    In or about January 2019 and continuing until approximately August

2019, co-conspirators outside the United States sent JEREMY WALENTY

approximately 9 packages that contained bulk quantities of prescription drugs

available for purchase on www.ExpressPCT.com.

      11.    In or about February 2020 and continuing until approximately March

2020, co-conspirators outside the United States sent TAYLOR McLAREN

approximately 3 packages that contained bulk quantities of prescription drugs

available for purchase on www.ExpressPCT.com.



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       12.   In or about November 2019 and continuing until approximately October

2020, co-conspirators outside the United States sent J.G. approximately 4 packages

that contained bulk quantities of prescription drugs available for purchase on

www.ExpressPCT.com.

       13.   In or about February 2020 and continuing until approximately March

2020, co-conspirators outside the United States sent JOSHUA FORD approximately

4 packages that contained bulk quantities of prescription drugs available for

purchase on www.ExpressPCT.com.

       14.   In or about February 2019 and continuing until approximately October

2020, co-conspirators outside the United States sent R.L. approximately 11 packages

that contained bulk quantities of prescription drugs available for purchase on

www.ExpressPCT.com.

       15.   In or about December 2019 and continuing until approximately

November 2020, co-conspirators outside the United States sent P.L. approximately 4

packages that contained bulk quantities of prescription drugs available for purchase

on www.ExpressPCT.com.

       16.   On or about February 5, 2020, TAYLOR McLAREN used his Instagram

account to recruit T.M. to serve as a re-distributor of prescription drugs. During the

conversation, McLAREN told T.M. that the person running the scheme was his friend



       17.   T.M. subsequently recruited M.H. to assist him in his re-distribution

efforts.



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      18.    On or about February 6, 2020, M.H. opened a cryptocurrency account

with Coinbase for the purpose of receiving

participation in the scheme.

      19.    Between approximately February 15, 2020, and September 20, 2020, co-

conspirators outside of the United States sent T.M. and M.H. approximately 12

packages that contained bulk quantities of prescription drugs available for purchase

on www.ExpressPCT.com.

      20.    Between December 2019 and April 2020, BRENDON GAGNE obtained

approximately 580 Priority Mail envelopes from the United States Postal Service.

      21.    Between February 2020 and September 2020, JEREMY WALENTY

obtained approximately 700 Priority Mail boxes and 1,900 Priority Mail envelopes

from the United States Postal Service.

      22.    On or about October 13, 2020, J.G. obtained approximately 100 Priority

Mail boxes and 840 Priority Mail envelopes from the United States Postal Service.

      23.    Between February 2020 and October 2020, T.M. and M.H. obtained

approximately 40 Priority Mail boxes and 370 Priority Mail envelopes from the

United States Postal Service.

      24.    On or about July 22, 2020, a co-conspirator sent an email to T.M. and

M.H. outlining the process to be used when dividing bulk shipments of prescription

drugs into smaller orders for reshipment, including instructions about printing USPS

labels and postage and how to package the dr

is not fully legal shipping these types of products



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      25.    Between approximately July 2020 and October 2020, the same co-

conspirator sent T.M. and M.H. approximately 34 emails containing the names of

customers and the types and quantities of prescription drug orders as well as a link

to pre-filled and pre-paid USPS labels to the same customers.

      26.    In or about August 2020, R.L. sent T.M. and M.H. a shipment of

prescription drugs. The conspirators had concealed some of the drugs inside boxes

that purported to contain beauty products and specifically instructed the recipients

not to use the products if the seal on the box had been broken.

      27.    Between approximately July 24, 2020, and October 11, 2020, T.M. and

M.H. mailed approximately 430 shipments of prescription drugs available on

www.ExpressPCT.com       to   either   other    re-distributors   or   customers   of

www.ExpressPCT.com located in the United States.

      28.    Between approximately January 8, 2020, and October 19, 2020,

JEREMY WALENTY mailed approximately 1,800 shipments of prescription drugs

available on www.ExpressPCT.com to either other re-distributors or customers of

www.ExpressPCT.com located in the United States.

      29.    On or about June 5, 2020, T.M. and M.H. mailed a USPS Priority Mail

box from Muskegon, Michigan, to JEREMY WALENTY in Tampa, Florida. The box

contained prescription drugs purchased on www.ExpressPCT.com.

      30.    On or about June 22, 2020, T.M. and M.H. mailed a USPS Priority Mail

box from Muskegon, Michigan, to BRENDON GAGNE in Colorado Springs, Colorado.

The box contained prescription drugs purchased on www.ExpressPCT.com.



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      31.    On or about June 29, 2020, T.M. and M.H. mailed a USPS Priority Mail

box from Muskegon, Michigan, to defe

Colorado Springs, Colorado. The box contained prescription drugs purchased on

www.ExpressPCT.com.

      32.    On or about July 13, 2020, R.L. mailed a USPS Priority Mail box from

Boulder, Colorado, to JEREMY WALENTY in Tampa, Florida. The USPS delivered

the box to JEREMY WALENTY on or about July 15, 2020.

      33.    On or about November 7, 2020, R.L. mailed a USPS Priority Mail box

from Boulder, Colorado, to JEREMY WALENTY in Tampa, Florida. The box

contained approximately 260 tablets of Tadalafil, 10 tablets of Armodafinil (a

Schedule IV controlled substance), and 160 tablets of Modafinil (a Schedule IV

                                          ion drugs available for purchase on

www.ExpressPCT.com.

      34.    In or about September 2020, customer M.W. ordered prescription

Clomid and Arimidex on www.ExpressPCT.com. After M.W. placed the order, a co-

conspirator emailed T.M. and M.H. with instructions to fulfill the order. T.M. and

M.H. then sent the order to M.W. via the USPS. At the same time, M.W. sent payment

for the order to an account at Skrill USA, Inc., a digital wallet provider. The funds

were subsequently transferred to a bank account owned by JAMES FUNARO.

      35.    On or about December 18, 2020, JAMES FUNARO had a conversation

via Facebook messenger with J.R., a repeat customer of www.ExpressPCT.com, who

was seeking to purchase prescription drugs.



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      36.   In or about February 2021, JAMES FUNARO had a conversation via

email with a customer of www.ExpressPCT.com about fulfilling an order for

prescription drugs and processing payment for the purchase.

18 U.S.C. § 371
18 U.S.C. § 545




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                                  COUNT 2
                        (Money Laundering Conspiracy)

      The Grand Jury realleges and incorporates by reference the allegations made

in Paragraphs 1-34 of the Introduction above as if fully set forth herein.

      From in or about September 2018 and continuing until in or about October

2021, in the Southern Division of the Western District of Michigan, and elsewhere,

the defendants,

                                 JAMES FUNARO
                                     and
                                BRENDON GAGNE,

knowingly combined, conspired, confederated, and agreed with each other and with

others both known and unknown to the Grand Jury to commit offenses against the

United States in violation of Title 18, United States Code, Section 1956, namely:

      (a)   to knowingly conduct and attempt to conduct financial transactions

            affecting interstate and foreign commerce, which involved the proceeds of

            a specified unlawful activity, that is, smuggling goods into the United

            States with the intent to promote the carrying on of specified unlawful

            activity, that is, smuggling goods into the United States, and that while

            conducting and attempting to conduct such financial transactions knew

            that the property involved in the financial transactions represented the

            proceeds of some form of unlawful activity in violation of Title 18, United

            States Code, Section 1956(a)(1)(A)(i); and

      (b)   to knowingly conduct and attempt to conduct financial transactions

            affecting interstate commerce and foreign commerce, which transactions

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           involved the proceeds of specified unlawful activity, that is, smuggling

           goods into the United States, knowing that the transactions were

           designed in whole or in part to conceal and disguise the nature, location,

           source, ownership, and control of the proceeds of the specified unlawful

           activity, and that while conducting and attempting to conduct such

           financial transactions, knew that the property involved in the financial

           transactions represented the proceeds of some form of unlawful activity,

           in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i).

18 U.S.C. § 1956(h)
18 U.S.C. § 1956(a)(1)(A)(i)
18 U.S.C. § 1956(a)(1)(B)(i)




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                                    COUNT 3
                                (Money Laundering)

       The Grand Jury realleges and incorporates by reference the allegations made

in Paragraphs 1-34 of the Introduction and Paragraphs 1-36 of Count 1 above as if

fully set forth herein.

       On or about September 3, 2020, in the Southern Division of the Western

District of Michigan, the defendant,

                                  JAMES FUNARO,

knowingly conducted and attempted to conduct a financial transaction affecting

interstate and foreign commerce, namely a transfer of funds to pay for prescription

drugs purchased on www.ExpressPCT.com, which involved the proceeds of a specified

unlawful activity, that is, smuggling goods into the United States,

       (a)   with the intent to promote the carrying on of the specified unlawful

             activity, and that while conducting and attempting to conduct such

             financial transaction knew that the property involved in the financial

             transaction represented the proceeds of some form of unlawful activity;

             and

       (b)   knowing that the transaction was designed in whole and in part to conceal

             and disguise the nature, location, source, ownership, and control of the

             proceeds of said specified unlawful activity and that while conducting and

             attempting to conduct such financial transaction knew that the property

             involved in the financial transaction represented the proceeds of some

             form of unlawful activity;

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and aided, abetted, counseled, commanded, induced, and procured the same.

18 U.S.C. § 1956(a)(1)(A)(i)
18 U.S.C. § 1956(a)(1)(B)(i)
18 U.S.C. § 2




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                         FORFEITURE ALLEGATION
             (Conspiracy to Smuggle Goods into the United States)

      The allegations contained in Count 1 of this Indictment are hereby re-alleged

and incorporated by reference for the purpose of alleging forfeitures pursuant to 18

U.S.C. § 982(a)(2)(B).

      Pursuant to 18 U.S.C. § 982(a)(2)(B), upon conviction of a conspiracy to violate

18 U.S.C. § 545, in violation of 18 U.S.C. § 371, as set forth in Count 1 of this

Indictment, the defendants,

                                BRENDON GAGNE,
                                 JAMES FUNARO,
                               JEREMY WALENTY,
                              TAYLOR McLAREN, and
                                  JOSHUA FORD,

shall forfeit to the United States of America any property constituting, or derived

from, proceeds the person obtained directly or indirectly as the result of the offense

charged in Count 1. The property to be forfeited includes, but is not limited to, the

following:

      1.     MONEY JUDGMENT: A sum of money equal to at least $12 million,

which represents the proceeds traceable to the offense.

      2.     PERSONAL PROPERTY:

             a.     a 2012 Maserati Granturismo with VIN ZAM45KLA5C0063730;

             b.     a 2014 BMW 428 with VIN WBA3N5C50EF715865.

      3.     SUBSTITUTE ASSETS: If any of the property described above, as a

result of any act or omission of the defendants:

             a.     cannot be located upon the exercise of due diligence;

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             b.    has been transferred or sold to, or deposited with, a third party;

             c.    has been placed beyond the jurisdiction of the court;

             d.    has been substantially diminished in value; or

             e.    has been commingled with other property which cannot be

                   divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property

pursuant to 21 U.S.C. § 853(p) as incorporated by 28 U.S.C. § 2461(c).

18 U.S.C. § 982(a)(2)(B)
18 U.S.C. § 982(b)(1)
21 U.S.C. § 853(p)
18 U.S.C. § 371
18 U.S.C. § 545




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                              FORFEITURE ALLEGATION
                            (Money Laundering Conspiracy)

      The allegations contained in Count 2 of this Indictment are hereby re-alleged

and incorporated by reference for the purpose of alleging forfeitures pursuant to 18

U.S.C.     982(a)(1).

      Pursuant to 18 U.S.C.        982(a)(1), upon conviction of an offense in violation of

18 U.S.C.     1956 set forth in Count 2 of this Indictment, the defendants,

                                     JAMES FUNARO
                                         and
                                    BRENDON GAGNE,

shall forfeit to the United States of America any property, real or personal, involved

in such offense, and any property traceable to such property. The property to be

forfeited includes, but is not limited to, the following:

      1.       MONEY JUDGMENT: A sum of money equal to at least $12 million,

which represents the amount of money involved in the offense charged in Count 2.

      2.       SUBSTITUTE ASSETS: If any of the property described above, as a

result of any act or omission of the defendants:

               a.       cannot be located upon the exercise of due diligence;

               b.       has been transferred or sold to, or deposited with, a third party;

               c.       has been placed beyond the jurisdiction of the court;

               d.       has been substantially diminished in value; or

               e.       has been commingled with other property which cannot be

                        divided without difficulty,




                                              22
the United States of America shall be entitled to forfeiture of substitute property

pursuant to 21 U.S.C.    853(p) as incorporated by 18 U.S.C. § 982(b).

18 U.S.C. § 982(a)(1)
21 U.S.C. § 853(p)
18 U.S.C. § 982(b)
18 U.S.C. § 1956(h)
18 U.S.C. § 1956(a)(1)(A)(i)
18 U.S.C. § 1956(a)(1)(B)(i)



                                       A TRUE BILL



                                       __________________________________________
                                       GRAND JURY FOREPERSON

ANDREW BYERLY BIRGE
United States Attorney


___________________________________
STEPHANIE M. CAROWAN
JUSTIN M. PRESANT
Assistant United States Attorneys




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